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Attorneys for Plaintiff

                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO

  BITCO GENERAL INSURANCE
  CORPORATION,
                                                  Case No. 4:20-cv-00445-DCN
            Plaintiff,
                                                  STIPULATION FOR DISMISSAL
  vs.                                             WITH PREJUDICE

  ROCKIN’ T CONSTRUCTION, INC., and
  DAVID L. MCGUIRE, as Trustee of the
  DAVID MCGUIRE LIVING TRUST 2011,

            Defendants.



              The above-entitled parties, by and through their respective counsel, and

stipulate that the above-entitled action shall be dismissed with prejudice and without

costs and attorney fees to any party.




STIPULATION FOR DISMISSAL WITH PREJUDICE - 1
      Case 4:20-cv-00445-DCN Document 18 Filed 09/14/21 Page 2 of 3




          DATED this ___
                     14th day of September, 2021.

                                   PERKINS, MITCHELL, POPE & MCALLISTER LLP


                                   By:__ _________________________________
                                      /s/Richard L. Stubbs
                                      Richard L. Stubbs, of the Firm
                                      Attorneys Plaintiff

          DATED this ___
                     14th day of September, 2021.

                                   PARSONS BEHLE & LATIMER


                                   By:___________________________________
                                      /s/John E. Cutler
                                      John E. Cutler, of the Firm
                                      Attorneys Defendant Rockin’T Construction

          DATED this 13th
                     ___ day of September, 2021.

                                   BANKS, GAFFNEY, PLLC


                                   By:___________________________________
                                       Jeffery Banks, of the Firm
                                       Attorneys for Defendant David McGuire
                                       Living Trust




STIPULATION FOR DISMISSAL WITH PREJUDICE - 2
        Case 4:20-cv-00445-DCN Document 18 Filed 09/14/21 Page 3 of 3




                            CERTIFICATE OF SERVICE

                  I HEREBY CERTIFY that on the 14th ___ day of September, 2021, I
electronically filed the foregoing STIPULATION FOR DISMISSAL WITH PREJUDICE
with the Clerk of the Court, using the CM/ECF system, which sent a Notice of Electronic
Filing to the following persons:

        Lee Radford                             [ ]    U.S. Mail, postage prepaid
        John E. Cutler                          [ ]    Hand-Delivered
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        McGuire Living Trust 2011



                                                       /s/Richard L. Stubbs
                                                          Richard L. Stubbs




STIPULATION FOR DISMISSAL WITH PREJUDICE - 3
